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5                          UNITED STATES DISTRICT COURT

6                         EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,             No.   2:11-cr-00458-GEB
9                    Plaintiff,
10        v.                               ORDER
11   BUENA MARSHALL, and DEBORAH
     LOUDERMILK,
12
                     Defendant.
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15              In    a   March   14,   2015   filing,   Defendant     Loudermilk

16   “requests . . . the court give [as an additional instruction her

17   proposed   cash-back-to-buyer]      instruction.”    (ECF   No.    183.)   On

18   March 16, 2015, Defendant Marshall “joins in that request.” (ECF

19   No. 188, 2:4-9.) The government is requested to file a written

20   response to this proposed instruction as soon as practicable.

21   Dated:    March 17, 2015

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     Case 2:11-cr-00458-GEB Document 195 Filed 03/17/15 Page 2 of 2


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